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                                                                       United States District Court
                                                                         Southern District of Texas

                                                                            ENTERED
                                                                          January 24, 2022
                                                                         Nathan Ochsner, Clerk

                   UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF TEXAS
                        HOUSTON DIVISION

        ALEJANDRO            §         CIVIL ACTION NO.
        EVARISTO PEREZ,      §         4:21-cv-00765
                  Plaintiff, §
                             §
                             §
             vs.             §         JUDGE CHARLES ESKRIDGE
                             §
                             §
        DISNEY               §
        CORPORATION and      §
        THE WALT DISNEY      §
        COMPANY,             §
                 Defendants. §

                            RECUSAL ORDER

            I stand RECUSED in this case.
            All deadlines in scheduling orders remain in effect, and
       all court settings are vacated.
            This case has been reassigned to Judge Keith P Ellison
       for all further proceedings.
            SO ORDERED.
            Signed on January 24, 2022 at Houston, Texas.




                                  Hon. Charles Eskridge
                                  United States District Judge
